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12                        UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
                                               Case No. 5:23-cv-01539 TJH (KKx)
15 JAMES TYSON, LENKA JOHN, and
16 NOEL HARNER, individuals; SOCAL             DECLARATION OF ANTHONY
   TRASH ARMY, an unincorporated               DAVIS, DATED JULY 7, 2023
17 association;
18
                   Plaintiffs
19
   vs.
20
21 CITY OF SAN BERNARDINO, a
   municipal entity; DOES 1-20,
22
23               Defendant(s).
24
25
26
27
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